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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Southern District
                                                       __________ District of
                                                                           of Florida
                                                                              __________
                          Mariela Itayim
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 0:19-cv-62197-SCOLA
                        CYS Group, Inc.                                       )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                 Callfire, Inc. c/o Corporation Service Company
                                                     251 Little Falls Drive, Wilmington, DE 19808
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Exhibit A



 Place: kaufman@kaufmanpa.com or                                                        Date and Time:
          Kaufman P.A., 400 NW 26th St., Miami, FL 33127                                                    11/29/2019 10:00 am

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/30/2019

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Avi R. Kaufman
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
                                                                        , who issues or requests this subpoena, are:
Avi R. Kaufman, Kaufman P.A., 400 NW 26th St, Miami, FL 33127, kaufman@kaufmanpa.com, (305) 469-5881

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 0:19-cv-62197-SCOLA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                    EXHIBIT A TO SUBPOENA

                                            DEFINITIONS

       1.         “Communication” means oral or written communications of any kind that

transmit information, including electronic communications such as emails, online messages,

mobile messages, machine-generated messages, and facsimiles; telephone communications; and

letters, memoranda, exchanges of written or recorded information, in-person meetings, and

events that parties both attend. The phrase “communication between” also means instances

where one party disseminates information that the other party receives but does not respond to.

       2.         “Concerning” means, without limitation, the following concepts: regarding, in

connection with, referring to, relating to, discussing, describing, reflecting, dealing with,

pertaining to, analyzing, evaluating, evidencing, estimating, containing, constituting, studying,

surveying, projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or

otherwise involving, in whole or in part.

       3.         “Document” means all documents, information, and items within the scope of

Federal Rule of Civil Procedure 34(a)(l)(A), including, without limitation, paper documents, e-

mails, communications (as defined above), and all electronically stored information (“ESI”) (as

defined below) in its native format and all associated metadata. A draft or non-identical copy is a

separate document within the meaning of this term.

       4.         “ESI” means electronically stored information or data and is to be interpreted

broadly, as used in the Federal Rules of Civil Procedure and the advisory committee notes

thereto, to include all information regardless of the storage media (e.g., hard drive, CD-ROM,

DVD, disc, tape, thumb drive, VoiceMail system, or mobile device such as a smartphone, tablet,

or cell phone).
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          5.      “Include” and variations of that verb are used to provide examples of the types of

documents and communications requested, and should not be construed as limiting a request.

          6.      “Person” means any natural person or any business, legal, or governmental entity

or association.

          7.      The words “and” and “or” are to be read in the conjunctive and not in the

disjunctive wherever they appear, and neither of these words is to be interpreted to limit the

scope of a request. “And” and “or” encompass both “and” and “or.”

          8.      As used in these requests, the singular or plural number, shall each be deemed to

include the others whenever the context so indicates.

                                        RELEVANT TIME FRAME

          Unless otherwise specified, the relevant time period for purposes of these requests is

September 3, 2015 through the present, and includes all documents and information concerning

events or transactions within this period, even if prepared, received, or reviewed outside of this

period.

                                     REQUESTS FOR PRODUCTION

          1.      All documents, communications, and electronically stored information concerning

Mariela Itayim (telephone number (786) 213-3712).

          2.      Information or data concerning all calls, including pre-recorded voice calls, made

by or on behalf of CYS Group, Inc. using your services, including call logs and recordings or

copies of the calls and prerecorded voice messages (“Outbound Telemarketing Calls”).

          3.      Documents sufficient to identify the total number of prerecorded voice calls made

by or on behalf of CYS Group, Inc. using your services.
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          4.    All documents, communications, and electronically stored information concerning

 any software for making Outbound Telemarketing Calls supplied by you to CYS Group, Inc.,

 including technical specifications manuals, instructions, training materials, and electronic

 documents reflecting source code for the software.

          5.    Documents sufficient to identify all products or services supplied by you to CYS

 Group, Inc.

          6.    All documents, communications, and electronically stored information concerning

 any training provided by you to CYS Group, Inc.

          7.    All contracts or agreements with CYS Group, Inc.

          8.    The identity and contact information (including any databases in which such

 information is contained) for any and all recipients of Outbound Telemarketing Calls.

          9.    All documents relating or referring to the manner in which telephone numbers

 were obtained to make Outbound Telemarketing Calls.

          10.   All documents relating or referring to the content of Outbound Telemarketing

 Calls.

          11.   Any and all complaints or STOP requests received regarding Outbound

 Telemarketing Calls.
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